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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 RAMON JAQUEZ, individually and on behalf of :
 others similarly situated,                                   :    20 Civ. 7121 (LGS)
                                            Plaintiff,        :
                                                              :          ORDER
                            -against-                         :
                                                              :
 SPECIALITY HOME SHOPPING (US                                 :
 MARKETING), LLC,                                             :
                                            Defendant.        :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for November 5,

2020.

        WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan. It is hereby

        ORDERED that the November 5, 2020, initial pretrial conference is cancelled. If the

parties believe that a conference would nevertheless be useful, they should inform the Court

immediately so the conference can be reinstated. The case management plan and scheduling

order will issue in a separate order. The parties’ attention is particularly directed to the provisions

for periodic status letters, and the need for a pre-motion letter to avoid cancellation of the final

conference and setting of a trial date. It is further

        ORDERED that if Defendant seeks to file a motion to dismiss, it shall file a pre-motion

letter pursuant to Individual Rules III.A.1 and III.C.2. It is further

        ORDERED, regarding settlement discussions, if and when the parties are ready to

proceed with a settlement conference with the assigned Magistrate Judge or mediation in the
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Court’s mediation program, they shall file a joint letter on ECF requesting a referral.

       The parties should be aware that the Court does not extend the deadlines for fact and

expert discovery absent compelling circumstances.

Dated: November 2, 2020
       New York, New York




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